                              Case5:12-cr-00410-RMW Document139 Filed10/15/13 Page1 of 4


                    1   FRANK R. UBHAUS, CA STATE BAR NO. 46085
                        BERLINER COHEN
                    2   TEN ALMADEN BOULEVARD
                        ELEVENTH FLOOR
                    3   SAN JOSE, CALIFORNIA 95113-2233
                        TELEPHONE: (408) 286-5800
                    4   FACSIMILE: (408) 998-5388
                        frank.ubhaus@berliner.com
                    5
                        ATTORNEYS FOR DEFENDANT MICHAEL SIMS
                    6

                    7

                    8                                  UNITED STATES DISTRICT COURT

                    9                                 NORTHERN DISTRICT OF CALIFORNIA

                   10                                          SAN JOSE DIVISION

                   11   The United States of America,                       CASE NO.CR12-00410 RMW

                   12                    Plaintiff,                         PRETRIAL CONFERENCE STATEMENT
                                                                            OF MICHAEL SIMS
                   13            v.

                   14   Melvin Russell “Rusty” Shields, Michael Sims
                        and Sam Stafford,
                   15
                                         Defendants.
                   16

                   17            By and through his attorney, Frank R. Ubhaus, Defendant Michael Sims submits the
                   18   following pretrial conference statement for the Court’s consideration in advance of the Pretrial
                   19   Conference Scheduled for October 17, 2013.
                   20   I.       DISCLOSURE OF WITNESS STATEMENTS
                   21            Mr. SIMS is not in possession of any statements of witnesses expected to be called during his
                   22   case-in-chief.
                   23   II.      DISCLOSURE OF GRAND JURY TESTIMONY
                   24            As of this filing, the government has indicated that all testimony at the grand jury was by
                   25   government employee witnesses. The government has not turned over any of these statements to the
                   26   defense, although production is anticipated by the date of the pre-trial conference.
                   27   ///
                   28   ///

                                                                          -1-
4820-2045-2886v2                                            PRETRIAL CONFERENCE STATEMENT
FRU\21943001
                             Case5:12-cr-00410-RMW Document139 Filed10/15/13 Page2 of 4


                    1   III.    STIPULATION OF FACTS

                    2           Counsel for Mr. Sims has reviewed the correspondence between counsel for Mr. Shields and

                    3   the government regarding proposed stipulations, as well as the Pretrial Conference statement of Mr.

                    4   Shields. The vast majority of the documents covered by the proposed stipulation do not involve Mr.

                    5   Sims, accordingly, whatever stipulation with respect to foundational issues agreed to by the co-

                    6   defendants and the government will be acceptable to Mr. Sims.

                    7   IV.     COURT INTERPRETERS

                    8           Mr. Sims does not anticipate calling witnesses who will require the services of an interpreter.

                    9   V.      DISMISSAL OF COUNTS

                   10           Mr. Sims is currently unaware of any counts which might be dismissed by the government in

                   11   an effort to streamline the trial of this matter and to conform to the witnesses listed by the

                   12   government as witnesses to be called at trial.

                   13   VI.     JOINDER OR SEVERANCE

                   14           Mr. Sims believes the evidence will support the conclusion that, assuming Mr. Sims could be

                   15   found to be a part of the alleged conspiracy, Mr. Sims had effectively withdrawn from that alleged

                   16   conspiracy by as early as October 2007 and certainly by January 2008. Accordingly, Mr. Sims will

                   17   ask that the jury be instructed that evidence of events after the date of Mr. Sims’ withdrawal should

                   18   not be considered in the determination of Mr. Sims guilt or innocence.

                   19   VII.    PRIOR CONVICTION AND FRE 404(B) EVIDENCE

                   20           Mr Sims has a prior misdemeanor conviction in 1973. The government stated its intention to

                   21   introduce FRE 404(b) evidence regarding co-defendants Sims and Shields. Mr. Sims has reviewed

                   22   the evidence available with respect to the purported 404(B) evidence the government has referred to

                   23   with respect to Mr. Sims, and does not believe that such evidence meets the requirements for

                   24   admissibility set down in Rule 404(B) and would therefore request an evidentiary hearing outside the

                   25   presence of the jury before any reference is made to such evidence.

                   26   VIII.   PRETRIAL EXCHANGE OF WITNESS LISTS

                   27           Mr. Sims has not currently identified any witnesses he intends to call in his case-in-chief. The

                   28   forensic accounting firm engaged by the defense continues their work, but that work is not complete,

                                                                          -2-
4820-2045-2886v2                                            PRETRIAL CONFERENCE STATEMENT
FRU\21943001
                             Case5:12-cr-00410-RMW Document139 Filed10/15/13 Page3 of 4


                    1   and as such, no decision has been made as to whether Mr. Sims will seek to introduce their

                    2   testimony or reports.

                    3   IX.     PRETRIAL EXCHANGE OF EXHIBITS

                    4           Mr. Sims has not currently identified any exhibits to be presented in his case-in-chief. Mr.

                    5   Sims’ trial preparations continue, and he will provide documents to the government and counsel for

                    6   co-defendants Sims and Shields as they are identified for use in his case-in-chief.

                    7   X.      PRETRIAL OBJECTIONS TO EXPECTED TESTIMONY AND EXHIBITS

                    8           The government stated that it will introduce both testimony and charts from one or more

                    9   expert or summary witnesses. The government has not indicated whether these witnesses will be

                   10   testifying as expert or summary witnesses. The government has not provided charts, statements, or a

                   11   list of materials and documents relied upon by these witnesses, but has promised to do so on October

                   12   21, 2013. Counsel for Mr. Sims joins in the concerns expressed by counsel for Mr. Stafford in his

                   13   pre-trial conference statement regarding the concerns raised at the October 3, 2013 motion to

                   14   continue. The forensic accountants engaged by the defense have indicated that they require thirty

                   15   days to properly evaluate the summary charts that will be provided by the government. Counsel for

                   16   Mr. Sims agrees with counsel for Mr. Stafford that it is not in Mr. Sims’ interest to proceed with

                   17   trial and opening statements without a forensic evaluation of the charts the government intends to

                   18   introduce.

                   19           Timing aside, Mr. Sims anticipates in limine litigation as to the content and format of the

                   20   charts, as well as the scope of the witness testimony. Without knowing the contents of the charts, the

                   21   identities of the witnesses to be called, or whether the witnesses will testify as experts or not, Mr.

                   22   Sims cannot prepare appropriate motions in response.

                   23   XI.     TRIAL BRIEFS AND MOTIONS IN LIMINE

                   24           In addition to the motions in limine anticipated to arise from the introduction of FRE 404(b)

                   25   evidence and summary charts, Mr. Sims wishes to submit tailored jury instructions and verdict forms

                   26   regarding the consideration of hearsay evidence and determination of loss amount. In addition, Mr.

                   27   Sims anticipates submitting in limine motions designed to limit the evidence the jury may consider

                   28   with respect to Mr. Sims as well as in limine motions striking referrals to the fact that Mr. Sims’

                                                                         -3-
4820-2045-2886v2                                           PRETRIAL CONFERENCE STATEMENT
FRU\21943001
                          Case5:12-cr-00410-RMW Document139 Filed10/15/13 Page4 of 4


                    1   failed to disclose to investors that his real estate license was suspended and denied in 1978 (this is

                    2   alleged to be a material omission of fact in the Indictment) and to the fact that Mr. Sims’ 1994

                    3   bankruptcy was not disclosed to investors (also alleged in the Indictment to be an omission of a

                    4   material fact).

                    5   XII.    JUROR QUESTIONNAIRE AND VOIR DIRE

                    6           Mr. Sims would request leave of court to submit a jury questionnaire for distribution to

                    7   potential jurors. Mr. Sims also asks that the Court permit counsel for Mr. Sims to voir dire jurors

                    8   directly.

                    9   XIII.   OTHER MATTERS

                   10           There are no other matters that Mr. Sims believe need to be addressed at this time.

                   11   DATED: OCTOBER 15, 2013                      BERLINER COHEN

                   12

                   13                                                                      /S/
                                                                          FRANK R. UBHAUS
                   14                                                     ATTORNEYS FOR DEFENDANT MICHAEL SIMS

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28

                                                                         -4-
4820-2045-2886v2                                           PRETRIAL CONFERENCE STATEMENT
FRU\21943001
